                       Case 4:14-cr-00188-DPM                 Document 485          Filed 12/15/15         Page 1 of 1

(Post 11/2015)                                                                                                  FILED
                                                                                                          EAsTMRSN. DISTRICT COURT
                                                                                                                   DISTRICT ARKANSAS

                                                IN THE UNITED STATES DISTRICT COURT   DEC 15 2015
                                                   EASTERN DISTRICT OF ARKANSAS JAMES~
                                                         WESTERN DIVISION         By:           ~ R
                                                                                                                                 DEP CLERK
                  UNITE           STATES OF AMERICA                                 ,1}<                        PLAINTIFF

                                                             NO. 4:14-CR-00188-JLH

                                                                                                             DEFENDANT


                                         W AIYER OF APPEARANCE FOR ARRAIGNMENT
                                                AND ENTRY OF PLEA OF NOT GUILTY
                                   (Pursuant to Rules 10 and 43 of the Federal Rules of Criminal Procedure)
                              i
                         JNOW COMES Defendant in the above-referenced case who, along with his/her undersigned attorney,
                 hereby ::if !~now ledges the following:

                 I)       Ibefendant has received a copy of the indictment, superseding indictment or misdemeanor
                          i,llformation in this case. Defendant understands the nature and substance of the charges contained
                          terein, the maximum penalties applicable thereto, and his/her Constitutional rights, after being
                          idvised of all of the above by his/her attorney.

                 2)       Pefendant understands he/she has the right to appear personally with his/her attorney before a Judge
                          for arraignment in open court on this accusation. Defendant further understands that, absent the
                            esent waiver, he/she will be so arraigned in open court.



                         f,
                 Defend t, having conferred with his/her attorney in this regard, hereby waives personal appearance with
                 his/her orney at the arraignment of this case and the reading of the indictment, superseding indictment or
                 informa on, and by this instrument tenders a plea of "not guilty." The defendant understands that entry by
                 the Co1 of "id plea for defendant will conclude the ru-raignment in this =e for aII pW"pom.


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                          pate                                                   Signature   ~,/~
                          !/!L.-f--1£                                            ~~~~
                          Pate                                       Counsel for Defendant's Signature
                          I
                          I

                                                             ORDER OF COURT
                              The defendant's request to waive appearance at the arraignment is hereby APPROVED and a
                              plea of not guilty is entered for the defendant effective this date.

                              The defendant's request to waive appearance at t


                              J.2-,I 1 c/LC                           ----1rr---Tt---t---=----

                 cc:     All Counsel of Record
                         U.S. Probation Office
                         U.S. Marshals Service
                         Presiding Magistrate Judge
